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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


 IN RE: XARELTO (RIVAROXABAN)                       )          MDL NO. 2592
                                                    )
 PRODUCTS LIABILITY LITIGATION                      )          SECTION L
                                                    )
                                                    )          JUDGE ELDON E. FALLON
                                                    )
                                                    )          MAG. JUDGE NORTH
                                                    )
                                                    )
                                                    )


This Document Relates to:
HELEN MACK v. JANSSEN RESEARCH & DEVELOPMENT LLC, et al.,
Civil Action No. 2:16-cv-11607

                                             ORDER
       The Court, after considering the Plaintiff’s Motion for Substitution of Proper Party as

well as any responses thereto, finds the motion meritorious. It is therefore:

       ORDERED THAT Plaintiff Stephen C. Mack, on behalf of the Estate of Helen Mack, is

substituted for Plaintiff Helen Mack in the above captioned cause.


Dated: ______________________                 _______________________________________
                                              Hon. Eldon E. Fallon
                                              United States District Court Judge
